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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
______________________________________________________________________________

CRYSTALLEX INTERNATIONAL CORP.,           :
                                          :
      Plaintiff,                          :
                                          :
              v.                          :     Misc. No. 17-151-LPS
                                          :
BOLIVARIAN REPUBLIC OF VENEZUELA,         :
                                          :
      Defendant.                          :
______________________________________________________________________________

                                   MEMORANDUM ORDER

       At Wilmington this 17th day of February, 2023, having reviewed the briefing submitted

in connection with PDVSA, 1 PDVH, and CITGO Petroleum’s motion (D.I. 509), joined by the

Bolivarian Republic of Venezuela (D.I. 511), to disqualify the Special Master (D.I. 512, 513,

515, 516), IT IS HEREBY ORDERED that:

       1.      The Venezuela Parties, Crystallex, and the Special Master shall submit additional

briefing, addressing the questions listed below, on the schedule provided in this order.

ConocoPhillips is also invited to submit additional briefing, if it wishes.

       2.      The forthcoming briefing shall address the following:

               A.      If the Venezuela Parties are correct that the Court must disqualify the
                       Special Master, would the same reasoning require Judge Stark to recuse
                       himself as well?

               B.      Are the Venezuela Parties moving to recuse Judge Stark?

               C.      Is any party seeking an evidentiary proceeding to resolve the fact dispute
                       as to when the Venezuela Parties were told that the Special Master would
                       not permit them to attend his meeting with OFAC (compare D.I. 515 at 1-

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 As used in this memorandum order, capitalized but undefined terms have the same meaning
ascribed to them in the Sale Procedures Order. (See D.I. 481)
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                      3 with D.I. 512 at 6) and, if not, how do you propose the court resolve this
                      dispute?

       3.      The parties’ additional briefs shall consist of:

               A.     Opening letter briefs, not to exceed five pages each, due on Friday,
                      February 24th.

               B.     Responsive letter briefs, not to exceed five pages each, due on Friday,
                      March 3rd.

       4.      The Court will hear argument on the motion on Thursday, March 30th in

courtroom 4A in the Boggs Federal Building in Wilmington, Delaware. The specific time will

be provided nearer to the date. The Court will also conduct a status conference, with at least the

Sales Process Parties, on the same date and in the same courtroom.

       IT IS THE COURT’S INTENT THAT THE SPECIAL MASTER CONTINUE TO

UNDERTAKE ANY AND ALL EFFORTS HE BELIEVES NECESSARY TO FULFILL THE

RESPONSIBILITIES PLACED ON HIM BY THE COURT, INCLUDING ALL HIS DUTIES

SET OUT IN THE SALE PROCEDURES ORDER, NOTWITHSTANDING THE PENDENCY

OF THE MOTION.

       The Court’s interest in hearing argument on the motion, and holding a status conference,

should not be misunderstood as indicating a likelihood the Court will be persuaded to grant the

motion.



                                              ________________________________
                                              HONORABLE LEONARD P. STARK
                                              UNITED STATES DISTRICT COURT




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